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                       EXHIBIT C
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                                      SIDE AGREEMENT

                This Side Agreement (the “Agreement”) is dated as of November 20, 2009 (the
“Effective Date”), among Nortel Networks Limited (“NNL”) and its Canadian affiliates that
have filed under the Companies’ Creditors Arrangement Act (the “Canadian Entities”), (ii)
Nortel Networks Inc. (“NNI”) and its US debtor affiliates (the “US Entities”) and (iii) the
companies listed on Schedule A hereto (collectively the “EMEA Entities” and together with the
Canadian Entities and the US Entities, the “Parties”), which in the case of the EMEA Entities are
acting by their joint administrators Alan Robert Bloom, Stephen John Harris, Alan Michael
Hudson and Christopher John Wilkinson Hill of Ernst & Young LLP of 1 More London Place,
London SE1 2AF (other than Nortel Networks (Ireland) Limited, for which David Hughes of
Ernst & Young Chartered Accountants of Harcourt Centre, Harcourt Street, Dublin 2, Ireland
and Alan Robert Bloom serve as joint administrators) (collectively, the “Joint Administrators”)
who act as agents, for the EMEA Entities without any personal liability whatsoever.

                                      W I T N E S S E T H:

                WHEREAS, the Canadian Entities, the US Entities and the EMEA Entities have
entered into that certain Settlement and Release Agreement with Flextronics Corporation (“FC”),
Flextronics Telecom Systems Ltd (“FTS”) and certain of their affiliates, on behalf of themselves
and their respective affiliates (collectively, “Flextronics”), for which the “Effective Date” shall
be the first day after the Approval Orders (as defined therein) become final (the “Settlement and
Release Agreement”) attached hereto as Exhibit 1;

                 WHEREAS, solely for the purpose of facilitating the payments due to Flextronics
under the Settlement and Release Agreement, and subject to the potential reallocation of the total
liabilities due to Flextronics under the Settlement and Release Agreement among the Parties, the
Parties have agreed to make the payments described in Schedule B hereto (the “Payment
Obligations”); and

               WHEREAS, the Parties expressly acknowledge and agree that the Payment
Obligations do not necessarily reflect the appropriate allocation of liability for the Payment
Obligations among the Parties and, as such, the Parties wish to settle the procedures for
determining such liability and, if necessary, ultimately reallocating the Payment Obligations and
the value of certain other claims compromised by certain of the Parties in connection with the
Settlement and Release Agreement.

                NOW, THEREFORE, in consideration of the respective covenants made herein,
and of the mutual benefits to be derived hereby (the sufficiency of which are acknowledged), the
Parties hereto agree as follows:
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                                            ARTICLE I

                                       INTERPRETATION

               SECTION 1.1. Definitions.

               (a)     To the extent capitalized words used herein (including in the recitals
hereof) are not defined in this Agreement, those words shall have the meanings given to them (i)
in the Settlement and Release Agreement.

               (b)     The following capitalized terms shall have the meanings set forth below:

                       (i)     “Allocation Rules” means the rules (expressed as percentages or
               otherwise) to be used to allocate the proceeds of the Relevant Sales (as defined
               herein) among the various Parties, as such rules shall be agreed upon among the
               relevant Parties, and pursuant to Section 12.d and 12.g of the IFSA or shall be
               otherwise determined in accordance with the binding procedures to be set forth in
               the Interim Sales Protocol pursuant to Section 12.c and 12.g of the IFSA.

                      (ii)    “IFSA” means the Interim Funding and Settlement Agreement
               dated June 9, 2009, to which each of the Canadian Entities, the US Entities and
               the EMEA Entities are a party.

                       (iii) “Interim Sales Protocol” has the meaning ascribed to it in Section
               12.c of the IFSA.

                      (iv)    “Party” means (w) each of the Canadian Entities, (x) each of the
               US Entities, (y) each of the EMEA Entities and (z) the Joint Administrators, as
               agents of the EMEA Entities and without any personal liability whatsoever.

               SECTION 1.2. Interpretation.

               1.2.1. Gender and Number. Any reference in this Agreement to gender includes
all genders and words importing the singular include the plural and vice versa.

                1.2.2. Certain Phrases and Calculation of Time. In this Agreement (i) the words
“including” and “includes” mean “including (or includes) without limitation”, (ii) the terms
“hereof,” “herein,” and “herewith” and words of similar import shall, unless otherwise stated, be
construed to refer to this Agreement and not to any particular provision of this Agreement, and
Section and Schedule references are to the Sections and Schedules to this Agreement unless
otherwise specified, and (iii) in the computation of periods of time from a specified date to a later
specified date, unless otherwise expressly stated, the word “from” means “from and including”
and the words “to” and “until” each mean “to but excluding”. If the last day of any such period
is not a business day, such period will end on the next business day.

              When calculating the period of time “within” which, “prior to” or “following”
which any act or event is required or permitted to be done, notice given or steps taken, the date
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which is the reference date in calculating such period is excluded from the calculation. If the last
day of any such period is not a business day, such period will end on the next business day.

               1.2.3. Headings, etc. The inclusion of a table of contents, the division of this
Agreement into Articles and Sections and the insertion of headings are for convenient reference
only and are not to affect or be used in the construction or interpretation of this Agreement.

                                            ARTICLE II

                                           COVENANTS

               SECTION 2.1. Efforts to Complete the Settlement and Release Agreement.

               Subject to the requirements of any applicable law, each of the Parties shall use
their reasonable best efforts to take, or cause to be taken, all actions and to do, or cause to be
done, and cooperate with each other and Flextronics in good faith in order to do, all things
necessary, proper or advisable under applicable law to perform their obligations under the
Settlement and Release Agreement as soon as practicable in accordance with the provisions
thereof and cause the fulfillment at the earliest practicable date of all of the conditions to
Flextronics’ obligations thereunder.

               SECTION 2.2. Segregated Account.

                On or prior to the Effective Date of the Settlement and Release Agreement, (i)
NNI shall establish a segregated account (the “Segregated Account”) solely for the purpose of
holding the Payment Obligations (including any “Adjustment Amount”, as such term is defined
in Schedule B to the Settlement and Release Agreement) until such amounts are distributed in
accordance with Schedule B hereto, (ii)
                                                         , and (iii)
                into the Segregated Account (where (ii) and (iii) collectively constitute the
“Segregated Funds”). NNI shall hold the Segregated Funds for the benefit of the Parties and
solely for the purpose of satisfying the Payment Obligations set forth in Schedule B hereto.
Without limiting the foregoing, the Parties shall deposit into the Segregated Account the
Adjustment Amount, if any, in accordance with Schedule B hereto, which deposited amounts
shall constitute additional Segregated Funds.

               SECTION 2.3. Payment to Flextronics.

                The initial allocation of the Payment Obligations set forth in Schedule B hereto
has been agreed to by the Parties solely as a means to fund the payments due to Flextronics under
the Settlement and Release Agreement. Such allocation does not reflect an agreement of the
Parties as to the appropriate allocation of liability with respect to the Payment Obligations or the
claims being compromised by certain of the Parties in connection with the Settlement and
Release Agreement, and such allocation of liability shall be determined in accordance with
Section 2.4 hereof.




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               SECTION 2.4. Allocation of Settlement Cost.

                (a)      Allocation of Settlement Cost among the Regional Entities. The ultimate
allocation of the Settlement Cost (as defined on Schedule C hereto) incurred by the Parties in
each of the following three groups: (i) the Canadian Entities collectively, (ii) the US Entities
collectively and (iii) the EMEA Entities collectively (each of (i), (ii) and (iii), a “Regional
Entity” and together, the “Regional Entities”) in connection with the Settlement and Release
Agreement shall be allocated among the Regional Entities according to the weighted average of
proceeds allocated to such Regional Entity (the “Weighted Average”) from the sales of the
Enterprise, Optical, CVAS and GSM businesses (the “Relevant Sales”) in accordance with the
Allocation Rules governing the Relevant Sales (each an “Allocation Decision”); provided that
the Parties may agree to modify, with the consent of the official committee of unsecured
creditors of Nortel Networks Inc., et al. (the “Committee”), the steering committee members of
the ad hoc group of bondholders that have executed confidentiality or non-disclosure agreements
with NNL (the “Bondholder Group”) and Ernst & Young Inc. as “Monitor” in connection with
the CCAA Proceedings (the “Monitor”), the sales included among the Relevant Sales.

                (b)     Determination of the US Avoidance Claim. The “US Avoidance Claim”
shall consist of the value attributable to the claims released by the US Entities in the Settlement
and Release Agreement under Chapter 5 of the Bankruptcy Code, which value each of the Parties
shall negotiate in good faith to agree to through a representative designated by each of the
Regional Entities (such representatives, collectively, the “Representatives”), with the consent of
the Committee, the Bondholder Group and the Monitor, or if such agreement cannot be reached
prior to the Allocation Decision for the first Relevant Sale, shall be promptly submitted to
mediation among the Parties (through their Representatives) by a mediator appointed jointly by
the United States Bankruptcy Court for the District of Delaware and the Ontario Superior Court
of Justice (Commercial List) (collectively, the “Courts”) following notice and a joint hearing.
The costs of such mediation shall be shared equally among the Regional Entities participating in
the mediation. In the event that the mediation has not resulted in an agreement between the
Parties (through their Representatives), with the consent of the Committee, the Bondholder
Group and the Monitor (a “Mediation Agreement”), within 180 calendar days of the appointment
of the mediator (unless the Representatives of the Parties, with the consent of the Committee, the
Bondholder Group and the Monitor, agree to extend that period) the determination of the amount
of the US Avoidance Claim shall be finally resolved by binding arbitration in accordance with
the Rules of Arbitration of the International Chamber of Commerce (“ICC Arbitration Rules”).
The arbitration shall be conducted in the English language in New York, New York, USA, by
one disinterested arbitrator appointed in accordance with the ICC Arbitration Rules, who shall be
a US trained lawyer experienced in United States bankruptcy matters. The Parties agree that the
decision of the arbitrator will be final and binding. The EMEA Entities have the right to be a full
participant to any mediation and/or arbitration proceeding, but in the event that the EMEA
Entities elect not to participate in any mediation and/or arbitration proceeding they will not be
obligated to do so and will not have any liability for any costs of such mediation and/or
arbitration proceeding if they do not participate. For the avoidance of doubt, (i) whether or not
the EMEA Entities participate in the mediation, they shall be bound by any Mediation
Agreement and (ii) whether or not the EMEA Entities participate in the arbitration, they shall be
bound by any award rendered by the arbitrator and expressly waive any right to submit the US
Avoidance Claim to any forum other than the arbitral forum specified herein. The US Entities

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agree that (x) any agreement by the US Entities (through their Representative) to the selection of
a mediator and/or arbitrator in connection with the determination of the US Avoidance Claim
and (y) any papers submitted in the mediation and/or arbitration by the US Entities shall be
subject to the approval of the Committee. Further, if the Committee is not the designated
Representative for the US Entities in connection with the negotiation and/or any necessary
mediation or arbitration proceeding, the US Entities agree to directly involve the Committee in
any discussions and negotiations that the US Entities (through their Representative) have with
the other Regional Entities (through their Representatives) in connection with the determination
of the US Avoidance Claim. Judgment on the award rendered by the arbitrator may be entered
only in the state or federal courts sitting in the State of New York, which shall have exclusive
jurisdiction to confirm or vacate the award. For the avoidance of doubt, the provisions of this
Section 2.4(b) shall not limit the jurisdiction of the Courts as provided in Section 3.7(b) of this
Agreement. The Parties covenant that they shall not disclose the information contained in
Schedule C, including, but not limited to the Settlement Cost Cap and the Avoidance Claims
Cap, to any mediator or arbitrator and the Parties agree that the mediator and/or arbitrator shall
not consider any such information in determining the amount of the US Avoidance Claim. The
Parties further agree to use their reasonable best efforts to ensure that the information contained
in Schedule C, including, but not limited to the Settlement Cost Cap and the Avoidance Claims
Cap, is not disclosed by any administrators of the arbitration proceeding provided for in this
section 2.4(b).

                (c)     Escrow of True-up Amounts. The Parties agree that at the time of
disbursement of proceeds to the Regional Entities for a Relevant Sale, the Gross True-up
Amount (as defined below) for each Regional Entity shall be transferred to an alternative escrow
(the “True-up Escrow”) established by the Parties, with the consent of the Committee, the
Bondholder Group and the Monitor, for the purpose of holding funds to be used for the
reallocation of the Settlement Cost among the Regional Entities under this Agreement.
Following an Allocation Decision for a Relevant Sale, but prior to the disbursement of funds to
the Parties from the proceeds escrow for a Relevant Sale, a “Gross True-up Amount” for each
Regional Entity shall be calculated and the Parties shall direct the escrow agent for the relevant
proceeds escrow to deposit into the True-up Escrow the Gross True-up Amounts, where such
Gross True-up Amounts shall equal (i) the Settlement Cost multiplied by such Regional Entity’s
Weighted Average for all Relevant Sales for which an Allocation Decision has been made, less
(ii) the sum of (w) such Regional Entity’s share of the Released Accounts Payable (as defined in
Schedule B hereto), (x) any Adjustment Amount (as defined in Schedule B hereto), (y) in respect
of the US Entities only, the Interim Avoidance Cap as defined on Schedule C hereto. For the
avoidance of doubt, if at any time prior to the termination of this Agreement, the amount that a
Regional Entity has deposited into the True-up Escrow exceeds the aggregate Gross True-up
Amount for such Regional Entity (any such amount, a “True-up Surplus”) the Parties agree that
any such True-up Surplus shall remain in the True-up Escrow on behalf of such Regional Entity
until such time as the US Avoidance Claim is settled, and after which time, at the request of such
Regional Entity, a new Gross True-up Amount will be calculated and the Parties will direct the
escrow agent for the True-up Escrow to release from the True-up Escrow and pay to such
Regional Entity any such True-up Surplus. The Parties expressly agree to direct the escrow
agent for the True-up Escrow to hold and distribute proceeds from the Relevant Sales according
to this paragraph.


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                (d)     Payment Obligations Adjustment. After the Allocation Decision is made
for the final Relevant Sale and the Regional Entities have deposited the final Gross True-up
Amounts into the True-up Escrow in accordance with Section 2.4(c) above, the Parties shall
direct the escrow agent for the True-up Escrow to disburse the funds contained in the True-up
Escrow to any Regional Entity that has a negative Gross True-up Amount based on the final
Weighted Average for each Regional Entity (as calculated for purposes of determining the final
Gross True-up Amount), in the amount of such negative Gross True-up Amount (such
disbursement, the “Payment Obligations Adjustment”). In connection with the foregoing, each
Regional Entity agrees that the True-up Escrow is being used for administrative convenience
and, in the event that sufficient sale proceeds are not received by a Regional Entity to satisfy its
obligation to deposit funds into the True-up Escrow, such Regional Entity shall be liable for any
portion of the Settlement Cost that such Regional Entity is determined to owe any other Regional
Entity at the time that the Payment Obligations Adjustment becomes due, which liability shall
not be capped by such Regional Entity’s portion of the Gross True-up Amount on deposit in the
True-up Escrow at such time. Each of the Regional Entities shall be separately responsible for
apportioning liability for the Settlement Cost among the Parties and their affiliates within such
Regional Entity.

                                           ARTICLE III

                                        MISCELLANEOUS

              SECTION 3.1. Exclusion of Liability and Acknowledgments re Joint
Administrators.

                (a)     The Parties agree that the Joint Administrators are entering into this
Agreement as agents for the EMEA Entities to which they are appointed and the Parties
acknowledge that none of the Joint Administrators, their firm, partners, employees, advisers,
representatives or agents shall incur any personal liability whatsoever whether on their own part
or in respect of any failure on the part of any other Party to observe, perform or comply with any
of its obligations under this Agreement or under or in relation to any associated arrangements or
negotiations.

                (b)     The Joint Administrators are a party to this Agreement: (i) as agents of
each of the respective EMEA Entities of which they are administrators; and (ii) in their own
capacities solely for (1) taking the benefit of the statutory charges under Paragraph 99(3) of
Schedule B1 of the Insolvency Act, (2) obtaining the benefit of any provisions of this Agreement
expressed to be conferred on them, (3) enforcing the obligations of the other Parties to this
Agreement and (4) for the purposes of Section 3.1.

                (c)    Notwithstanding anything in Section 3.6, any claim, action or proceeding
against the Joint Administrators arising from or related to (i) the personal liability of the Joint
Administrators, their firm or partners, (ii) their qualification to act as insolvency practitioners in
accordance with Part XIII of the Insolvency Act or (iii) their appointment as joint administrators
of the EMEA Entities and their remaining as current joint administrators thereof under this
Agreement shall be governed exclusively by English law and subject to the exclusive jurisdiction
of the English courts.

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                  (d)    For the purposes of the acknowledgements or agreements to, or exclusions
of, liability in favor of the Joint Administrators in this Agreement, references to the Joint
Administrators where the context so permits shall mean and include any additional or successor
administrator of the EMEA Entities and their respective firms or future firms, employees, agents,
members, partners and personal representatives.

               SECTION 3.2. Remedies. No failure to exercise, and no delay in exercising, any
right, remedy, power or privilege under this Agreement by any Party will operate as a waiver of
such right, remedy, power or privilege, nor will any single or partial exercise of any right,
remedy, power or privilege under this Agreement preclude any other or further exercise of such
right, remedy, power or privilege or the exercise of any other right, remedy, power or privilege.

                 SECTION 3.3. Third-Party Beneficiaries. Nothing in this Agreement, whether
express or implied, is intended to confer any rights or remedies under or by reason of this
Agreement on any persons other than the Parties and their respective successors and assigns, nor
is anything in this Agreement intended to relieve or discharge the obligation or liability of any
third persons to the Parties, nor shall any provision give any third persons any right of
subrogation or action against any party to this Agreement; provided, however, that the
Committee (as a statutory committee appointed in the US Bankruptcy Cases) shall be a third
party beneficiary of Sections 2.1, 2.2, 2.3, 2.4, 3.5, 3.13 and 3.14 of this Agreement entitled to
enforce and take advantage of the benefits of those sections of this Agreement to NNI only to
their fullest extent as if it were a signatory hereto.

                SECTION 3.4. Accession by Nortel Networks, S.A. Nortel Networks S.A. may,
within 30 days of the Effective Date of the Settlement and Release Agreement, by notice in
writing to the Parties hereto, accede to the Settlement and Release Agreement. In the event it
does so, and on the same date, Nortel Networks S.A. shall accede to this Agreement as an EMEA
Entity on the same terms and conditions as an EMEA Entity (such accession conditioned, if
applicable, on French court approval), and the Parties shall forthwith on receipt of such notice
enter into an appropriate form of accession agreement with Nortel Networks S.A. The Parties
agree that the provisions of this Section 3.4 are for the benefit of Nortel Networks S.A. and may
be enforced by Nortel Networks S.A.

                SECTION 3.5.Consent to Amendments; Waivers. No Party shall be deemed to
have waived any provision of this Agreement unless such waiver is in writing, and then such
waiver shall be limited to the circumstances set forth in such written waiver. This Agreement, or
any provision hereof, may be waived or amended, on no less than 5 days’ notice, only by means
of a writing signed by all Parties, and approved by the Committee, Bondholder Group and the
Monitor, which amendments, if material in the judgment of the Parties, must be approved by
each of the Courts that initially approved this Agreement.

               SECTION 3.6. Successors. Except as otherwise expressly provided in this
Agreement, all covenants and agreements set forth in this Agreement or any of the Ancillary
Agreements by or on behalf of the parties hereto or thereto will be binding upon and inure to the
benefit of such parties and their respective successors.

               SECTION 3.7. Governing Law; Submission to Jurisdiction; Waiver of Jury Trial.

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               (a)     The Parties agree that this Agreement shall be governed exclusively by the
laws of the State of New York without regard to the rules of conflict of laws of the State of New
York or any other jurisdiction; provided, however, that Section 3.1 shall be governed exclusively
by English law.

                (b)     To the fullest extent permitted by applicable law, and except as provided
for in Section 2.4(b), each Party (i) agrees to submit to the non-exclusive jurisdiction of the U.S.
Bankruptcy Court and the Canadian Court (in a joint hearing conducted under the Cross-Border
Protocol adopted by such courts, as it may be in effect from time to time), for purposes of all
legal proceedings to the extent relating to the matters agreed in this Agreement, (ii) agrees that
any claim, action or proceeding by such party seeking any relief whatsoever to the extent relating
to the matters agreed in this Agreement must be brought in the U.S. Bankruptcy Court and the
Canadian Court, (iii) waives and agrees not to assert any objection that it may now or hereafter
have to the laying of the venue of any such action brought in such a court or any claim that any
such action brought in such a court has been brought in an inconvenient forum, (iv) agrees that
mailing of process or other papers in connection with any such action or proceeding or any other
manner as may be permitted by law shall be valid and sufficient service thereof, and (v) agrees
that a final judgment in any such action or proceeding shall be conclusive and may be enforced
in other jurisdictions by suit on the judgment or in any other manner provided by applicable
Law; provided, however, that any claim, action or proceeding set forth in Section 3.1 shall be
brought exclusively in the English courts.

            (c)  EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN RESPECT OF ANY ACTION DIRECTLY OR INDIRECTLY ARISING OUT OF, UNDER
OR IN CONNECTION WITH THIS AGREEMENT OR ANY TRANSACTION OR MATTER
CONTEMPLATED HEREBY. EACH PARTY (I) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF ANY ACTION, SEEK TO ENFORCE THE FOREGOING
WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 3.7.

               SECTION 3.8. Notices. All demands, notices, communications and reports
provided for in this Agreement shall be in writing and shall be either sent by facsimile
transmission with confirmation to the number specified below or personally delivered or sent by
reputable overnight courier service (delivery charges prepaid) to any Party at the address
specified below, or at such address, to the attention of such other Person, and with such other
copy, as the recipient Party has specified by prior written notice to the sending Party pursuant to
the provisions of this Section 3.8.




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If to the US Entities:                             With a copy to:
c/o Nortel Networks Inc.                           Cleary Gottlieb Steen & Hamilton LLP
Attention: Anna Ventresca                          Attention: Lisa M. Schweitzer, Esq.
           Chief Legal Officer                     Address: One Liberty Plaza
Address: 2221 Lakeside Boulevard                            New York, New York 10006
          Richardson, Texas 75082                           U.S.A.
          U.S.A.                                   Facsimile No.: (212) 225-3999
Facsimile No.: (905) 863-8386

If to the Canadian Entities (prior to              With a copy to:
December 1, 2009):
c/o Nortel Networks Limited                        Ogilvy Renault LLP
Attention: Anna Ventresca                          Attention: Ian Ness, Esq.
           Chief Legal Officer                     Address: Suite 3800
Address: 195 The West Mall                                  Royal Bank Plaza, South Tower
Mailstop: T0503006                                          200 Bay Street, P.O. Box 84
           Toronto, Ontario,                                Toronto, Ontario M5J 2Z4
           Canada M9C 5K1                                   Canada
Facsimile No.: (905) 863-7386                      Facsimile No.: (416) 216-3930

If to the Canadian Entities (after December
1, 2009):

c/o Nortel Networks Limited
Attention: Anna Ventresca
           Chief Legal Officer
Address: 5945 Airport Road, Suite 360
           Mississauga, Ontario
           L4V 1R9
Facsimile No.: (905) 863-7386

If to the EMEA Entities:                           With a copy to:
c/o Ernst & Young LLP                              Herbert Smith LLP
Attention: Alan Bloom                              Attention: Alan Montgomery and Ben Ward,
Address: One More London Place                     Esq.
          London SE1 2AF                           Address: Exchange House
          United Kingdom                                    Primrose Street
Facsimile No.: +44 (0) 20 7951 1345                         London EC2A 2HS
                                                            United Kingdom
                                                   Facsimile No.: +44 (0) 20 7098 4878


If to the Committee:                               If to the Bondholder Group:
Akin Gump Strauss Hauer & Feld LLP                 Milbank, Tweed, Hadley & McCloy
Attention: Fred S. Hodara, Esq. and David H.       Attention: Gina Ciraldo, Esq. and David
Botter, Esq.                                       Clayton, Esq.
Address: One Bryant Park                           Address: One Chase Manhattan Plaza
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           New York, New York 10036                            New York, New York, 10006
Facsimile: (212) 872-1002                           Facsimile: (212) 822-5537


If to the Monitor:                                  With a copy to:
Murray A. McDonald                                  Goodmans L.L.P.
Ernst & Young Inc.                                  Attention: Joseph Pasquariello
Ernst & Young Tower                                 Facsimilie: (416) 979-1239
Address: 222 Bay Street, P. O. Box 251
          Toronto, ON M5K 1J7                       If prior to December 22, 2009:
          Canada
Facsimile: (416) 943-3300                           Address:    250 Yonge Street
                                                                Suite 2400
                                                                Toronto, ON M5B 2M6
                                                                Canada

                                                    If after December 22, 2009:

                                                    Address: Bay Adelaide Centre
                                                             333 Bay Street, Suite 3400
                                                             Toronto, ON M5H 2S7

Any such demand, notice, communication or report shall be deemed to have been given pursuant
to this Agreement when delivered personally, when confirmed if by facsimile transmission, or on
the calendar day after deposit with a reputable overnight courier service, as applicable.

                SECTION 3.9. Counterparts. The Parties may execute this Agreement in three or
more counterparts (no one of which need contain the signatures of all Parties), each of which will
be an original and all of which together will constitute one and the same instrument.

                 SECTION 3.10. Severability. If any provision, section, or part of this
Agreement, or the application thereof under certain circumstances, is held invalid, illegal or
incapable of being enforced in any jurisdiction, (i) as to such jurisdiction, the remainder of this
Agreement or the application of such provision, section or part under other circumstances, and
(ii) as for any other jurisdiction, any provision of this Agreement, shall not be affected and shall
remain in full force and effect, unless, in each case, such invalidity, illegality or unenforceability
in such jurisdiction materially impairs the ability of the Parties to consummate the transactions
contemplated by this Agreement. Upon such determination that any section or other provision is
invalid, illegal or incapable of being enforced in such jurisdiction, the Parties shall negotiate in
good faith to modify this Agreement so as to effect the original intent of the Parties as closely as
possible in a mutually acceptable manner, and approved by the Committee, the Bondholder
Group and the Monitor, in order that the transactions contemplated hereby be consummated as
originally contemplated to the greatest extent possible even in such jurisdiction.

                 SECTION 3.11. Termination. This Agreement will automatically terminate upon
the final distribution of any amounts owed by or to the Parties pursuant to Section 2.4 hereof.


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               SECTION 3.12. Obligations of the Parties. The liability of any Regional Entity
shall be several (and not joint) with respect to the other Regional Entities, but the Parties
included within a Regional Entity shall be jointly liable for all obligations of such Regional
Entity.

               SECTION 3.13.      Effectiveness.

                (a)     No provision of this Agreement (other than as set forth in Section 3.13(d))
shall be effective until each of the US Court and the Canadian Court approves the entirety of this
Agreement and all of the provisions hereof (the “Court Approval Condition”).

                (b)    All provisions of this Agreement shall be effective as of the date of the
satisfaction of the Court Approval Condition.

               (c)     Each Party hereto shall:

                       (i)    use commercially reasonable efforts to satisfy the Court Approval
               Condition as soon as possible, taking into account the availability of the
               respective Courts to address the matters set forth in this Agreement;

                       (ii)    keep all other Parties reasonably apprised of the progress of the
               satisfaction of the Court Approval Condition and provide such other information
               regarding the satisfaction of the Conditions as reasonably requested by other
               Parties; and

                      (iii)   use commercially reasonable efforts to allow any other Party,
               which so requests in writing reasonable participation in connection with any
               proceedings in any Court related to the satisfaction of the Court Approval
               Condition.

                (d)   Notwithstanding any of the foregoing, the following provisions of the
Agreement shall be effective as of the date hereof: Sections 3.1 through 3.12 and Section
3.13(b), (c) and (d).

                SECTION 3.14.          Limitations of Remedies. Each of the Parties agrees that
this Agreement may be pled as a defense to any claim or action in any court of competent
jurisdiction. In connection with the foregoing, the Parties agree that monetary damages would
not be sufficient to remedy any breach by a party of this Agreement and that the non-breaching
party would be entitled to equitable relief, including, without limitation, temporary injunctive
relief preventing (or allowing, as the case may be) the unilateral termination of performance and
specific performance in respect of any breach of the Agreement.

                SECTION 3.15.          Reservation of Rights. The Parties expressly agree that the
allocation of the Payment Obligations pursuant to Schedule B hereto shall not be binding on the
Parties in determining the ultimate allocation of the Settlement Cost of the Parties. Further, the
Parties hereby agree that, except as otherwise provided herein, nothing in this Agreement shall or
be deemed to determine, ratify, or adopt, or have any impact whatsoever on, the allocation or


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distribution of proceeds from any Divestiture (as defined in the Settlement and Release
Agreement).

          [Remainder of this page intentionally left blank. Signature pages follow.]




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                IN WITNESS WHEREOF, each Party, by its respective duly-authorized
representative identified below, acknowledges and agrees to the terms and conditions of this
Agreement.
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 NORTEL NETWORKSCORPORATION                                NORTEL NETWORKS INC.

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Dated:     NovemberV, 2009
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NORTEL NETWORKS LUTD                                       Dated:   Novembcr,'4 2009

By:
                                                           NORTEL ALTSYSTEMS INC.
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Name:             LA-K~       Ii4fe                        Dated:   November;2   2009

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          Case 09-10138-MFW          Doc 1970-8   Filed 11/24/09          Page 16 of 28




                                                    NORTEL NETWORKS
                                                    APPLICATIONS MANAGEMENT
                                                    SOLUTIONS INC.

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                                                    NORTEL NETWORKS OPTICAL
                                                    COMTONENTS INC.
Title:      Pr~           le.,~*



Dated:     November Q2, 2009                                         ok b,0LW-
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                                                    Title:           -fS~t.Ir-t
CORETEK, INC

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                                                    NORTEL NETWORKS HPOCS INC.
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Title:            Q..II-j                          By:            j-1
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         Case 09-10138-MFW           Doc 1970-8   Filed 11/24/09         Page 17 of 28




 ARCif(TEL SYSTEMS (U.S.)                           NORTEL NETWORKS CABLE
                                                    SOLUTION

                                                    By:-

 Narme            Ac.        c.t~f                  Name:              .kLA
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 Title:         efi4     *                          Title:       V i'

 Dated:    Novembe4Z 2009                           Dated:     NovemberW26 2009


 NORTEL NETWORKS                                    NORTEL MTWORKS (CALA) INC.


                                                   By:



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Dated:     NovemberLO,2009                         Dated:      NovemberZ 2009


NORTHERN TLECOM                                    By:       ,~o"414
DITERNATIhAL INC.
                                                   Namp.,,,            Pe4o{ LuIc.
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NORTEL ALTSYSTEMS




Title:      Pti



Dated:   November g26209




Title:    Pr e -Si 4 e ,


Dated:   NovernberV, 2009
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                                 Signed by CHRISTOPHER J.W.HILL as
                                 joint administrator on behalf of the Joint
                                 Administrators and the EMEA Entities
                                 (except Nortel Networks (Ireland) Limited)
                                 without personal liability and solely for the
                                 purpose of obtaining the benefit of the
                                 provisions of this Agre ment expressed to be
                                 conferred on or give otheot
                                 Administrators

                                 By
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                            Signed by David Hughes as joint
                            administrator on behalf of the Joint
                            Administrators and Nortel Networks
                            (Ireland) Limited without personal liability
                            and solely for the purpose of obtaining the
                            benefit of the provisions of this Agreement
                            expressed to be conferred on or given to the
                            Joint Administrators

                            By
                            Name:.       I      Q    &
                            Title:      k1t-r    4Vt-1~%(Lw
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SIGNED for and on behalf of NORTEL
NETWORKS UK LIMITED (IN                      )   CHRISTOPHER J.W. HILL
ADMINISTRATION) by
CHRISTOPHER J.W. HILL as Joint
                                                  )~~~~6
Administrator (acting as agent and without
personal liability whatsoever) in the
presence of:
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Witness:         j N
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    Case 09-10138-MFW              Doc 1970-8      Filed 11/24/09            Page 22 of 28




SIGNED for and on behalf of NORTEL
NETWORKS (IRELAND) LIMITED                   )   DAVID HUGHES
(IN ADMINISTRATION)                          )
by DAVID HUGHES as Joint                     )             N,                  t",r

Administrator (acting as agent and without
personal liability whatsoever) in the
presence of:

Witness:   ________




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    Case 09-10138-MFW              Doc 1970-8     Filed 11/24/09   Page 23 of 28




SIGNED for and on behalf of NORTEL
NETWORKS BV (IN                               )   CHRISTOPHER J.W. HILL
ADMINISTRATION)
by CHRISTOPHER J.W. HILL as Joint                   )~~~~~~r
Administrator (acting as agent anid without
personal liability whatsoever) in the
presence of:.

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     Case 09-10138-MFW            Doc 1970-8     Filed 11/24/09   Page 24 of 28




                                             )
SIGNED for and on behalf of NORTEL           )   CHRISTOPHER J.W. HILL
NETWORKS HISPANIA, S.A.                      )
by CHRISTOPHER J.W. HILL as Joint            )
Administrator (acting as agent and without
personal liability whatsoever) in the
presence of:

Witness:          IN 7~~"
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                                        Exhibit 1

Settlement and Release Agreement
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                                 Schedule A – EMEA Entities

Nortel Networks UK Limited (in administration)

Nortel Networks (Ireland) Limited (in administration)

Nortel Networks B.V. (in administration)

Nortel Networks Hispania SA (in administration)

If Nortel Networks S.A. accedes to this Agreement pursuant to Section 3.4, it shall be considered
an EMEA Entity.




                                        Schedule A
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                                Schedule B – The Payment Obligations

1.     Initial Payment to Flextronics

NNI shall, on behalf of all of the Parties and following the receipt of payment of
               from the EMEA Entities as Segregated Funds as contemplated in Section 2.2 of
this Agreement (the “EMEA Payment”), pay Flextronics from the Segregated Account
                    within 10 days after the Effective Date of the Settlement and Release
Agreement.


2.     Final Payment to Flextronics

NNI shall, on behalf of all of the Parties and following the receipt of the EMEA Payment, pay
Flextronics from the Segregated Account                         on or before May 31, 2010.


3.     Payment to NNL

NNI shall, on behalf of all of the Parties and following the receipt of the EMEA Payment, pay
NNL from the Segregated Account                           within 10 days after the Effective Date of
the Settlement and Release Agreement.

4.     Released Accounts Payable

Immediately following the payment described in item 3 above, the “Released Accounts Payable”
for the Regional Entities shall equal



5.     Adjustment Amount

(a)    Promptly, but in no case more than 5 days, following the determination of the Adjustment
       Amount (or any portion thereof) in accordance with Schedule B to the Settlement and
       Release Agreement, each Regional Entity shall pay to NNI for deposit into the
       Segregated Account the actual amount of the Adjustment Amount attributable to each
       Regional Entity (which shall be determined according to the Nortel legal entities listed
       for the accounts payable agreed not to be valid obligations in accordance with Schedule B
       to the Settlement and Release Agreement).

(b)    NNI shall, on behalf of all of the Parties and following the receipt of the payments from
       the Canadian Entities and EMEA Entities required in 4(a) above, pay to Flextronics the
       Adjustment Amount from the Segregated Account in accordance with Schedule B to the
       Settlement and Release Agreement.



                                         Schedule B
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                                Schedule C – Settlement Cost

Confidential. Filed under seal pursuant to the Order Authorizing the Debtors to File Under Seal
Certain Portions of (I) the Settlement and Release Agreement and (II) the Side Agreement,
Attached as Exhibits to the Debtors' Motion Pursuant to 11 U.S.C. §§ 105 and 363 and Fed. R.
Bankr. P. 9019 for Entry of an Order (I) Authorizing and Approving the Flextronics Settlement
and Release Agreement, (II) Authorizing and Approving the Related Side Agreement and (III)
Granting Related Relief [D.I. _____]. Copies of Schedule C will be provided to the United
States Trustee and the Court.




                                        Schedule C
